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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                   Case No. 1:10-cr-00126
                                    )
v.                                  )                   Honorable Janet T. Neff
                                    )
WILLIE JEMEL ROSCOE,                )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on August 4, 2010, after receiving the written consent of defendant and all counsel. There is

no written plea agreement. At the hearing, defendant Willie Jemel Roscoe entered a plea of guilty

to Counts 2 and 3 of the Indictment. Count 2 charges defendant with conspiracy to distribute 50

grams or more of cocaine base in violation of 21 U.S.C. §§ 846 and 841(a)(1). Count 3 charges

defendant with distribution of 50 grams or more of cocaine base in violation of 21 U.S.C. §

841(a)(1). On the basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full understanding

of each of the rights waived by defendant; that it is made voluntarily and free from any force, threats,

or promises; that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.
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               I therefore recommend that defendant's plea of guilty to Counts 2 and 3 of the

Indictment be accepted, and that the court adjudicate defendant guilty. Acceptance of the plea,

adjudication of guilt, and imposition of sentence are specifically reserved for the district judge.



Date: August 4, 2010                                   /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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